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UNITED STA'I`ES DIS'I`RICT COURT
SOUTHERN DISTRIC'I` OF NEW YOR.K
-------------------------------- X
MASTR ADJUS'I`ABLE RATE MORT-
GAGES 'I`RUST 2006-OA2, MASTR AD-
JUS'I`ABLE RATE MORTGAGES TRUST .
2007-1, AND MASTR ADJUSTABLE RA'I`E:

MORTGAGES TRUST 2007-3, : 12-civ-7322 (HB) (JCF)
Plaimiffs, § ECF ease
-against-

UBS REAL ESTATE SECURITIES INC.,
Defendant.

________________________________ x

DECLARATION OF PAUL J. LOCKWOOD IN SUPPORT OF
UBS REAL ESTATE SECURITIES INC.'S MOTION FOR
IMPOSITION OF SANCTIONS FOR SPOLIATION OF EVIDENCE

Pursuant to 28 U.S.C. § 1746, Paul J. Lockwood hereby declares under penalty of perjury
as follows:

1. I am a partner at Skadden, Arps, Slate, Meagher and Flom LLP ("Skadden") and
submit this declaration in support of UBS Real Estate Securities, Inc.’s ("UBS RESI") Motion
for Imposition of Sanctions for Spoliation of Evidence.

2. During a March 25, 2013, meet and confer conference call regarding, among oth-
er things, document productions in M€{STR AaLiustabIe Rate Mortgages Trust 2006-OA2, et al. v.
UBS Real Estate Securities Inc., 12-cv-7 322 (HB)(JCF), Nicholas Joseph of Quinn, Emanuel,
Uruqhart & Sullivan ("Quinn Emanuel"), counsel for U.S. Bank N.A. ("U.S. Bank"), informed

me that U.S. Bank employs a 90-day auto delete policy for its employees' e-mails, and that U.S.

Bank does not maintain back-up tapes of e-mails deleted pursuant to this policy.

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3. As a result, Mr. Joseph informed me that the universe of electronic data was small
enough that U.S. Bank did not need to utilize search terms to isolate potentially relevant docu-
ments for review and production.

4. At my direction, Skadden attorneys searched the metadata associated with U.S.
Bank's productions to identify the number of e-mails that U.S. Bank produced that were harvest-
ed from its custodians’ e-mail accounts. That search identified 128 documents as having been
harvested directly from e-mail accounts. Based on the "Source" metadata associated with each
of those e-mails, U.S. Bank's production includes the following number of e-mails from each
custodian:

(a) Elizabeth Brewster: 0 e-mails
(b) Laura Cawley: 0 e-mails

(c) Brian Giel: 0 e-mails

(d) Julianne Ilstrup: 9 e-mails

(e) Timothy Pillar: 1 e-mail

(f) Shannon Ra.ntz: 0 e-majls

(g) Dianne Reynolds: 69 e-mails
(h) Toby Robillard: 22 e-majls
(i) Roxanne Rouleau: 0 e-mails
(j) Joseph Wagner: 5 e-mails

(k) Nicolas Valaperta: 22 e-mails

Dated: June 19, 2013
Executed at Wilmington, Delaware

. Lockwood

